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                     4IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DISTRICT
______________________________________________________________________________
                                       )
JOHN JENNINGS,                         )
                                       )
        Plaintiff,                     )
                                       )    No:  1:13-cv-8811
        v.                             )
                                       )
THE CITY OF CHICAGO                    )
CHICAGO POLICE OFFICERS                )
UGARTE (Star # 15050), MCCULLUM        )
(Star # 15180),VIVANCO (Star # 17269), )
HARRIS (Star # 14911), WILLIAMS        )
(Star # 4947), COLEMAN (Star #13056)   )
                                       )
        Defendants.                    )
                                       )    JURY DEMANDED
                                       )

                                     CIVIL COMPLAINT

       NOW COMES the Plaintiff John Jennings, by and through his attorneys, Brendan Shiller

and Shiller Preyar Law Offices, complaining of Defendants, and in support thereof states as

follows:

                                       INTRODUCTION

       1.     This action is brought pursuant to 42 U.S.C. § 1983 to address deprivations of

   Plaintiff’s rights under the Constitution of the United States.

                                        JURISDICTION

       2.     The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

   U.S.C. § 1983; the Judicial Code, 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the

   United States; and pendent jurisdiction for state claims as provided in 42 U.S.C. § 1367(a).

                                             VENUE
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    3.      Venue is proper pursuant to 28 U.S.C. § 1391(b). The events alleged within all

occurred in the Northern District of Illinois.

                                      THE PARTIES

    4.      John Jennings is a United States citizen who resides in the Northern District of

Illinois.

    5.      Defendant Chicago Police Officers Ugarte (Star #15050), Vivanco (Star #17269),

McCullum (Star #15180), Harris (Star # 14911), Williams (Star #4947), and Coleman (Star

#13056) (referred to herein as “Defendant Officers”) are present or former employees of the

City of Chicago Police Department. The Defendant Officers engaged in the conduct

complained of while on duty and in the course and scope of their employment and under

color of law. Defendant Officers are sued in their individual capacities.

    6.      Defendant City of Chicago is a municipal corporation duly incorporated under the

laws of the State of Illinois, and is the employer and principal of the Defendant Officers. At

all times relevant hereto, all Defendants were acting under the color of law and within the

scope of their employment with Defendant City of Chicago.

                                       BACKGROUND

    7.      On or about September 17, 2009, Plaintiff and two acquaintances were attempting

to repair his sister’s car which was parked on the side of the road near the corner of 85th street

and Wabash in Chicago, Illinois.


    8.      Shortly after beginning the repairs, Defendant Officers Harris and McCullum

pulled up in their squad car next to Plaintiff’s vehicle and asked Plaintiff Jennings and his

acquaintances where “the gun” was located.

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    9.         After denying that they had any weapons, Defendant Officer McCullum searched

Plaintiff’s vehicle, then handcuffed Plaintiff and began to search his person.

    10.        Defendant Officer McCullum did not have probable cause to search the vehicle or

Plaintiff’s person.

    11.        Defendant Officer McCullum did not have probable cause to seize Plaintiff by

placing him in handcuffs.

    12.        During the search on the side of the road, Defendant Officer McCullum pulled

down Plaintiff’s pants and underwear to his ankles and then penetrated Plaintiff’s anus with

his fingers.

    13.        Officer McCullum did not have probable cause to believe that contraband would

be found in Plaintiff’s body.

    14.        Officer McCullum did not find illegal guns or narcotics inside Plaintiff or in his

possession.

    15.        Upon completion of their search, Defendants Harris and McCullum left the scene

without charging Plaintiff with any crime.

    16.        Shortly thereafter, Plaintiff Jennings lodged a complaint with the Chicago Police

Department against Officer McCullum.

    17.        Thereafter, on or about June 2, 2010, at a car wash near 77th and State Streets in

Chicago, Plaintiff was waiting in line to get his car washed when several unmarked squad

cars pulled into the car wash parking lot and surrounded Plaintiff’s vehicle.

    18.        Defendant Officer Coleman proceeded to pull Plaintiff out of his vehicle and

place him in handcuffs.


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   19.     Defendant Officer Coleman began searching Plaintiff’s vehicle while Defendant

Officer Ugarte escorted Plaintiff to the back of Officer Ugarte’s squad car.

   20.     Therein, Officer Ugarte told Plaintiff that if he revealed the location of

contraband, he would “make things much easier” on Plaintiff.

   21.     Plaintiff denied having any knowledge of contraband and in response, Officer

Ugarte produced an unknown substance from his pocket and informed Plaintiff that he could

“make this whole thing go away” if Plaintiff revealed the location of guns or drugs.

   22.     Plaintiff insisted that he did not have contraband and thereafter, Defendant Officer

Ugarte formally placed Plaintiff under arrest and charged Plaintiff with possession of a

controlled substance.

   23.     Officer Ugarte did not have probable cause to arrest Plaintiff.

   24.     Plaintiff was not in possession of a controlled substance.

   25.     Plaintiff bonded out the same day and the charges were dismissed.

   26.     On or about July 23, 2010, in response to the June 2, 2010 arrest, Plaintiff lodged

a complaint against Officer Ugarte with the Department of Internal Affairs.

   27.     On December 19, 2010, Plaintiff’s Complaint was determined to be unfounded.

   28.     On October 11, 2010, a few blocks away from the car wash, Plaintiff was waiting

at a stoplight in a vehicle when Defendant Officers Ugarte and Vivanco maneuvered their

vehicle in front of Plaintiff’s and proceeded to approach Plaintiff and his passenger.

   29.     Defendant Officer Vivanco then pulled Plaintiff out of the vehicle.

   30.      Officer Ugarte then handcuffed and placed Plaintiff in the back of the squad car.

   31.     Neither Officer Vivanco nor Officer Ugarte had probable cause to arrest Plaintiff.


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   32.     Officer Ugarte informed Plaintiff that he had been looking for him ever since

Plaintiff lodged the complaint against Officer Ugarte from the June 2, 2011 incident.

   33.     Officers Ugarte and Vivanco placed Plaintiff under arrest and charged him with

possession of a controlled substance with intent to distribute.

   34.     Plaintiff was not in possession of a controlled substance.

   35.     A result of the October 11, 2010 arrest and possession charge, a three day trial

commenced on or about June 22, 2013.

   36.     On June 25, 2013, Plaintiff was acquitted of all charges against him.

   37.     In the interim, on December 13, 2011, while parked in front of his family home,

Defendant Office Vivanco and Officer Williams pulled up in front of Plaintiff’s vehicle and

approached on foot.

   38.     Defendant Officer Vivanco pulled Plaintiff out of his vehicle and began to search

Plaintiff’s person.

   39.        Officer Vivanco did not have probable cause to seize Plaintiff or to search his

person.

   40.     After failing to discover contraband, Defendant Officer Vivanco and Officer

Williams left without charging Plaintiff with a crime.

                                         COUNT I

                      42 U.S.C. §1983 – Unlawful Seizure / False Arrest
                        Against Officer Vivanco and Officer Williams

   41.     Plaintiff re-alleges and incorporates all of the allegations in the preceding

paragraphs.



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    42.     On December 13, 2011, Defendant Officer Vivanco knowingly searched and

seized Plaintiff without probable cause or any other justification. Such actions constitute

deliberate indifference to Plaintiff’s rights under the United States Constitution, in violation

of the Fourth and Fourteenth Amendments to the United States Constitution.

    43.     As a result of the unlawful seizure, Plaintiff was injured, including loss of liberty,

emotional damages, trauma, humiliation, mental distress, and anguish. .

    44.     The actions of the Defendant Officer Vivanco was objectively unreasonable and

were undertaken intentionally with malice, willfulness, and reckless indifference to

Plaintiff’s rights.


    WHEREFORE, Plaintiff demands judgment against the Defendant Officer Vivanco for

compensatory damages, punitive damages, costs and attorney’s fees, and such other and

additional relief as this Court deems equitable and just.

                                         COUNT II

                          State Claim- Malicious Prosecution
                        Against Defendants Ugarte and Vivanco

     45.    Plaintiff re-alleges and incorporates all of the allegations in the preceding

paragraphs.

    46.     Defendant Officers knowingly and maliciously caused the criminal charge of

possession of a controlled substance to be filed and prosecuted against the Plaintiff for the

October 11, 2010 arrest.

    47.     There was no probable cause for the institution of such criminal charges.

    48.     Criminal charges against the Plaintiff for the October 11, 2010 arrest were

dismissed in June, 2013.
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   49.     Defendants’ actions were objectively unreasonable and undertaken intentionally

with malice, willfulness, reckless indifference to Plaintiff’s rights.

   50.     Defendant City of Chicago is the employer of the Defendant Officers who

participated in the investigation and prosecution.

   51.     Defendant City of Chicago is liable, under the theory of respondeat superior, for

the malicious prosecution of Plaintiff by any of its employees as such acts were committed in

the course and scope of their employment and in furtherance of their employment with the

City of Chicago.


   WHEREFORE, Plaintiff demands judgment against the Defendants for compensatory

damages, punitive damages, costs, and such other and additional relief as this Court deems

equitable and just.

                                           COUNT III

                      42 U.S.C. §1983 - Equal Protection – Class of One
                             Against All Individual Defendants

   52.     Plaintiff re-alleges and incorporates all of the allegations in the preceding

paragraphs.

   53.     Defendant Officers falsely arrested Plaintiff, intimidated him, knew that

prosecutors would rely on their false reports, knew that Plaintiff faced criminal charges and

knew that charges against Plaintiff following the June 2, 2010 and October 11, 2010 arrests,

were baseless.

   54.     Defendant Officers continued their pattern of misconduct, including attempting to

intimidate Plaintiff by unlawfully searching his vehicle and person without probable cuase on

four separate occassions over the course of three years.
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       55.     Defendant Officers intentionally treated Plaintiff differently than others similarly

   situated.

       56.     There was no rational basis for the difference in treatment.

       57.     Defendant Officers were motivated by illegitimate animus against the Plaintiff.

   WHEREFORE, Plaintiffs demand judgment against the Defendants for compensatory

damages, punitive damages, costs, and such other and additional relief that this Court deems

equitable and just.

                                              COUNT IV

                         42 U.S.C. §1983 – Due Process (Newsome) Claim
                          Against All Individual Defendant Officers

       58.     Plaintiff re-alleges and reincorporates all previous paragraphs.

       59.     Under 42 U.S.C. § 1983, a person who, acting under color of state law, deprives

   another person of his federal constitutional rights is liable to the injured party.

       60.     The Fourteenth Amendment to the United States Constitution, enforceable

   pursuant to 42 U.S.C. § 1983, provides that no state shall deprive any person of life, liberty,

   or property, without due process of law. The individual Defendants’ conduct violated

   Plaintiff’s rights to due process.

       61.     Beginning on September 17, 2009, through and including the eventual acquittal of

   Plaintiff on June 24, 2013, Defendant Officers expressly or impliedly formed an agreement

   amongst themselves to deprive Plaintiff of his constitutionally protected rights to be free

   from false arrest and to have his due process rights as guaranteed by the United States

   Constitution.



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    62.     Plaintiff was prejudiced by the above described actions of the Defendant Officers

because disclosure of suppressed, exculpatory evidence would have affected the

prosecution’s decision to take the charges against him to trial.

    63.     Said suppressed, exculpatory evidence includes, but is not limited to, false reports

and false testimony.

    64.     The conduct described above has been done willfully, wantonly, and intentionally

to obstruct justice and deprive Plaintiff of due process of law.

    65.     As a result of this conspiracy to deprive Plaintiff of his constitutional rights,

Plaintiff was injured, including loss of liberty, conditions of bond, physical damages, legal

fees, trauma, mental distress, and emotional damages.

    WHEREFORE, Plaintiff demands judgment against the Individual Defendant Officers, jointly

and severally, for compensatory damages, punitive damages, reasonably attorneys’ fees, costs, and

expenses, and such other additional relief that this Court deems equitable and just.

                                              COUNT V

                42 U.S.C. Civil Conspiracy to Interfere with the Rights of Plaintiff
                                Against All Individual Defendants

    66.     Plaintiff re-alleges and incorporates all of the allegations in the preceding

paragraphs.

    67.     Beginning on December 13, 2009, through and including Plaintiff’s trial in June

of 2013, Defendant Officers, among themselves, expressly or impliedly formed an agreement

to falsely arrest and illegally seize Plaintiff on four separate occasions, in violation of his

constitutional rights and deprive Plaintiff of his right to a fair trial.




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    68.     In furtherance of this conspiracy, Defendant Officers agreed to fabricate and

conceal material evidence, testify falsely, destroy or hide exculpatory evidence, harass and

intimidate Plaintiff by arresting and searching his vehicle and person without probable cause

on four occasions over the course of three years.

    69.     Specifically, Defendant Officers took the following acts in furtherance of this

conspiracy: fabricated police reports; relied on, or made, sworn, false statements to fabricate

probable cause to charge Plaintiff with possession of a controlled substance on two separate

occassions.

    70.     Furthermore, Defendant Officers took the acts set forth supra, in Paragraphs 7-40

of this Complaint, in furtherance of their agreement to deprive Plaintiff of his due process

right to a fair trial, of his constitutional right to be free from false arrest and/or illegal search

and seizure.

    71.     The conduct described above has been done willfully, wantonly, and intentionally

to obstruct justice by attempting to conceal the misconduct of Defendant Officers.

    72.     As a result of this conspiracy to deprive Plaintiff of his constitutional rights,

Plaintiff was injured, including loss of liberty, conditions of bond, legal fees, trauma, mental

distress, and severe emotional damages.

    WHEREFORE, Plaintiff demands judgment against Defendants for compensatory

damages, punitive damages, costs, and such other and additional relief that this Court deems

equitable and just.

                                            COUNT VI

                 Respondeat Superior Liability Against the City of Chicago
                     for State Law Claims Against Individual Officers

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   73.     Plaintiff re-alleges and incorporates all previous paragraphs.

   74.     Defendant City of Chicago is the employer of Defendant Officers.

   75.     Defendant City of Chicago is liable for its employees’ actions committed while in

the scope of their employment as duly appointed police officers under the doctrine of

respondeat superior.

   76.     The acts of Defendant Officers described in the state law claims specified above

were willful and wanton and committed in the scope of their employment as employees of

the Defendant City of Chicago.

   77.     As a proximate cause of Defendant Officers’ unlawful acts, which occurred

within the scope of their employment activities, Plaintiff was injured.

   WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago for

compensatory damages, costs, and such other and additional relief that this Court deems

equitable and just.

                                         COUNT VII

                        State Indemnity Claim - 745 ILCS 10/9-102

   78.     Plaintiff re-alleges and incorporates all of the allegations in the preceding

paragraphs.

   79.     In committing the acts alleged, the Defendant Officers were members and agents

of the Chicago Police Department, acting at all relevant times within the scope of their

employment.

   80.     Defendant City of Chicago is the employer of the Defendant Officers.



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       81.     In Illinois, public entities are directed to pay for any tort judgment for

   compensatory damages for which employees are liable within the scope of their employment

   activities. 745 ILCS 10/9-102.

       82.     As a proximate cause of Defendant Officers’ unlawful acts, which occurred

   within the scope of their employment activities, Plaintiff suffered physical and emotional

   injuries.

       WHEREFORE, Plaintiff Jennings, demands judgment against the Defendants jointly and

   severally, for compensatory damages, punitive damages, costs, and attorneys’ fees, lost

   wages, medical expenses, and such other and additional relief as this court deems equitable

   and just.

                                              PLAINTIFF DEMANDS TRIAL BY JURY.

                                              Respectfully submitted,

                                              JOHN JENNINGS

                                              By One of HIS Attorneys:


                                              s/ Brendan Shiller
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